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08                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
09                                      AT SEATTLE

10   UNITED STATES OF AMERICA,            )               Case No.: CR04-402-TSZ-JPD
                                          )
11         Plaintiff,                     )
                                          )               SUMMARY REPORT OF U.S.
12         v.                             )               MAGISTRATE JUDGE AS TO
                                          )               ALLEGED VIOLATIONS
13   JOSE JESUS BARRERA-LULE,             )               OF SUPERVISED RELEASE
                                          )
14         Defendant.                     )
     ____________________________________ )
15

16          An initial probation revocation hearing on a supervised release violation in this case was

17   held before the undersigned Magistrate Judge on July 14, 2005. The United States was

18   represented by Assistant United States Attorney Patricia Lally, and the defendant by Mr. Russell

19   Aoki. The proceedings were recorded on cassette tape.

20          The defendant had been sentenced on or about April 15, 2005, by the Honorable Thomas

21   S. Zilly on a charge of distribution of cocaine, and received a sentence of time served to be

22   followed by three (3) years of supervised release.

23          The conditions of supervised release included the requirements that defendant comply

24   with all local, state, and federal laws, and the standard conditions, submit to search, participate

25   in a substance-abuse treatment program, provide any requested financial information, and

26   participate in the home-confinement program for a period of ninety (90) days.

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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01           In the Violation Report and Request for Warrant dated June 23, 2005, U.S. Probation

02   Officer Steven Gregoryk asserted the following violation of the conditions of supervised release:

03   using cocaine on or before May 3, 2005, May 31, 2005, and June 17, 2005, in violation of

04   standard condition No. 7.

05           The defendant admitted to the violation, and waived any evidentiary hearing as to

06   whether they occurred.

07           I therefore recommend that the Court find the defendant violated his supervised release

08   as to the violation. A hearing has been set before the Honorable Thomas S. Zilly for disposition

09   of the violation.

10           Pending a final determination by the Court, the defendant has been ordered to be subject

11   to continued supervised release with electronic home monitoring.

12           DATED this 14th day of July, 2005.



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13

14
                                                           JAMES P. DONOHUE
15                                                         United States Magistrate Judge
16

17   cc:     District Judge:               The Hon. Thomas S. Zilly
             AUSA:                         Ms. Patricia C. Lally
18           Defendant’s attorney:         Mr. Russell M. Aoki
19           Probation officer:            Mr. Stephen R. Gregoryk

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     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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